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                   10
                                                   UNITED STATES DISTRICT COURT
                   11
                                                  NORTHERN DISTRICT OF CALIFORNIA
                   12
                                                           OAKLAND DIVISION
                   13

                   14
                        In re Google RTB Consumer Privacy              Master File No. 4:21-cv-02155-YGR-VKD
                   15   Litigation,
                                                                       GOOGLE’S RESPONSE TO PLAINTIFFS’
                   16                                                  ADMINISTRATIVE MOTION TO CONSIDER
                                                                       WHETHER ANOTHER PARTY’S MATERIALS
                   17   This Document Relates to: all actions          SHOULD BE SEALED

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ATTORNEYS AT LAW                                                                  GOOGLE’S RESPONSE TO PLAINTIFFS’
 SAN FRANCISCO                                                                     ADMINISTRATIVE MOTION TO SEAL
                                                                                  CASE NO. 4:21-CV-02155-YGR-VKD
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                    1   I.     INTRODUCTION
                    2          Pursuant to Northern District of California Civil Local Rules 7-11 and 79-5(f)(3),

                    3   Google LLC (“Google”) respectfully submits this Response (“Google’s Response”) to Plaintiffs’

                    4   Administrative Motion to Consider Whether Another Party’s Materials Should Be Sealed (ECF

                    5   No. 502), which was filed in connection with the Joint Letter Brief Regarding Account Identifiers

                    6   (“Joint Letter Brief”) (ECF No. 503).

                    7          As the Court has recognized in previously sealing substantively identical information,

                    8   portions of the Joint Letter Brief reflect confidential information. As set forth below and in the

                    9   accompanying Declaration of Reece Trevor in support of Google’s Response (“Trevor Decl.”),

                   10   Google confirms the confidentiality of these portions. Accordingly, Google hereby requests that

                   11   the Court enter an order sealing the information identified in the table below:

                   12                                                                                Party Claiming
                                     Document                        Text to be Sealed
                                                                                                     Confidentiality
                   13
                         Joint Letter Brief Regarding Portions highlighted at                    Google
                   14    Account Identifiers (“Joint Letter page(s): 1-5
                         Brief”) (ECF No. 503)
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                   17   II.    LEGAL STANDARD
                               A party seeking to seal material must “establish[] that the document, or portions thereof,
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                        are privileged, protectable as a trade secret or otherwise entitled to protection under the law” (i.e.,
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                        that the information is “sealable”). Civ. L.R. 79-5(b). Further, the sealing request must also “be
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                        narrowly tailored to seek sealing only of sealable material.” Id.
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                               The Ninth Circuit applies two tests to determine whether a party is entitled to file certain
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                        documents under seal: a “compelling reasons” test for dispositive motions and a “good cause” test
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                        for motions “not related, or only tangentially related, to the merits of a case.” Ctr. for Auto Safety
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                        v. Chrysler Grp., LLC, 809 F.3d 1092, 1097, 1099 (9th Cir. 2016) (citations omitted); Kamakana
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                        v. City & County of Honolulu, 447 F.3d 1172, 1179–80 (9th Cir. 2006). Briefing for a discovery
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                        motion is non-dispositive, and thus the good cause standard applies here. See, e.g., ECF No. 453
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                        (“The underlying discovery dispute does not address the merits of the parties’ claims or defenses,
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                    1   and the Court therefore applies the ‘good cause’ standard of Rule 26(c).”); Calhoun v. Google, No.
                    2   20-cv-05146, ECF No. 327, at 2 (N.D. Cal. Sept. 30, 2021) (finding the “good cause” standard
                    3   applies “because the information the parties seek to seal was submitted to the Court in connection
                    4   with discovery-related motions, rather than a motion that concerns the merits of the case.”). The
                    5   good cause standard “requires a ‘particularized showing,’ . . . that ‘specific prejudice or harm will
                    6   result’ if the information is disclosed.” Heath v. Google LLC, No. 2018 WL 4561773, at *1 (N.D.
                    7   Cal. Sept. 20, 2018) (quoting Phillips ex rel. Estates of Byrd v. Gen. Motors Corp., 307 F.3d 1206,
                    8   1210–11 (9th Cir. 2002)).
                    9   III.   GOOD CAUSE WARRANTS SEALING OF PORTIONS OF THE JOINT LETTER BRIEF
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                               Google respectfully asks this Court to seal portions of the Joint Letter Brief, which reflect
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                        sensitive details concerning Google’s internal data logs and data systems. Pursuant to the good
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                        cause standard, Google’s sealing request is warranted.
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                               As an initial matter, the proposed redactions to the Joint Letter Brief are narrowly tailored
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                        to encompass only the specific portions that qualify as confidential information and therefore do
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                        not “unduly limit[] public access.” ASUS Comput. Int’l v. Round Rock Research, LLC, No. 12-cv-
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                        02099-JST-NC, 2014 WL 2810193, at *2 (N.D. Cal. June 20, 2014).
                   17
                               Good cause exists to grant Google’s sealing requests. First, the portions of the Joint Letter
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                        Brief that Google seeks to redact contain information about technical details and identifiers related
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                        to highly sensitive data logs and data systems that Google maintains as confidential in the ordinary
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                        course of its business and that are not generally known to the public or Google’s competitors.
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                        (Trevor Decl. ¶ 5.) Specifically, such confidential and proprietary information contains details
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                        pertaining to Google’s advertising products and their proprietary functionalities, data infrastructure,
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                        logs, and metrics. (Id.) Second, public disclosure of technical details regarding identifiers related
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                        to Google’s highly sensitive data logs and data systems place Google at risk of irreparable harm
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                        because these may reveal Google’s internal strategies, system designs, and business practices for
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                        operating and maintaining many of its important proprietary services. (Id. ¶ 6.) This creates a
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 SAN FRANCISCO                                                            3                  ADMINISTRATIVE MOTION TO SEAL
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                    1   serious cybersecurity risk as third parties may seek to use this information to compromise Google’s
                    2   data sources, including data logs, internal data structures, and internal identifier systems. (Id.)
                    3               As such, Courts in this District routinely seal references to data systems and logs. In fact,
                    4   in its order regarding the underlying dispute, the Court maintained under seal the very information
                    5   that Google seeks to protect here. See ECF No. 485 at 3. The Court has likewise sealed other
                    6   comparable information and descriptions of internal logs. ECF No. 384 (sealing documents
                    7   containing technical details and identifiers related to Google’s highly sensitive data logs and data
                    8   systems); ECF No. 186 (N.D. Cal. Apr. 29, 2022) (sealing descriptions of data sources); ECF No.
                    9   327 (N.D. Cal. Sept. 6, 2022) (sealing portions concerning Google’s data signals, internal strategy,
                   10   and business practices described in Plaintiffs’ declaration in support of briefing regarding damages
                   11   discovery filed as ECF No. 317). See also, e.g., In re Google Inc. Gmail Litig., 2013 WL 5366963,
                   12   at *3 (N.D. Cal. Sept. 25, 2013) (sealing material that “if made public Google contends could lead
                   13   to a breach in the security” of Google’s systems); Free Range Content, Inc. v. Google Inc., No. 14-
                   14   cv-02329-BLF, ECF No. 192, at 3-9 (N.D. Cal. May 3, 2017) (granting motion to seal certain
                   15   sensitive business information related to Google’s processes and policies to ensure the integrity and
                   16   security of a different advertising system).
                   17               Consistent with these authorities, Google respectfully requests that the Court seal the
                   18   aforementioned portions of the Joint Letter Brief.
                   19   IV.         CONCLUSION
                   20               For the foregoing reasons, Google respectfully requests the Court seal portions of the Joint
                   21   Letter Brief.
                   22

                   23   Dated: May 8, 2023                                        COOLEY LLP
                   24

                   25                                                             By: /s/ Whitty Somvichian
                                                                                      Whitty Somvichian
                   26
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 SAN FRANCISCO                                                                4                  ADMINISTRATIVE MOTION TO SEAL
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